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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 TYIECE DAVIS,                                   )
                                                 )   Civil Action No.
      Plaintiff,                                 )
                                                 )
 v.                                              )
                                                 )   JURY TRIAL DEMANDED
 WASTE MANAGEMENT OF                             )
 GEORGIA, INC.,                                  )
                                                 )
   Defendant.                                    )
 _________________________________

                          COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Tyiece Davis (“Plaintiff”), by and through

undersigned counsel, and files her Complaint for Damages against Defendant Waste

Management of Georgia, Inc. (“Defendant”), and shows the Court as follows:

                            NATURE OF COMPLAINT

                                            1.

        Plaintiff brings this action to recover damages and other appropriate relief for

Defendant’s discrimination against her on the basis of religion and retaliation for

engaging in protected activity, in violation of Title VII of the Civil Rights Act of

1964, as amended, 42 U.S.C. § 2000e, et seq. (“Title VII”).




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                             JURISDICTION AND VENUE

                                               2.

         Plaintiff invokes the jurisdiction of this Court pursuant to 28 U.S.C. §§ 1331

and 1343(a)(4) and pursuant to 42 U.S.C. § 2000e-5(f)(3).

                                               3.

         The unlawful employment practices alleged in this Complaint were

committed within the state of Georgia and within this District. In accordance with

28 U.S.C. § 1391(b)(2) and 42 U.S.C. §2000e-5(f)(3), venue is appropriate in this

Court.

                                         PARTIES

                                               4.

         Plaintiff is subject to the jurisdiction of this Court.

                                               5.

         Defendant is qualified and licensed to do business in Georgia, and at all times

material hereto has conducted business within this District. Defendant is subject to

specific jurisdiction in this Court for the claims asserted in this action.

                                               6.

         Defendant is now and, at all times relevant hereto, has been an employer

engaged in an industry affecting commerce within the meaning of §§701(b), (g) and


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(h) of Title VII, 29 U.S.C. §§ 2000e(b), (g) & (h), and has employed more than

fifteen (15) persons for the requisite duration under Title VII. Defendant is therefore

covered under Title VII.

                                           7.

      Defendant may be served with process by delivering a copy of the summons

and complaint to its registered agent C.T. Corporation System, 289 S. Culver Street,

Lawrenceville Georgia 30046.

                      ADMINISTRATIVE PROCEDURES

                                           8.

      Plaintiff timely filed a charge of discrimination against Defendant with the

Equal Employment Opportunity Commission (“EEOC”).

                                           9.

      Upon Plaintiff’s request, the EEOC issued a “Dismissal and Notice of Rights,”

entitling an action to be commenced within ninety (90) days of receipt of that notice.

                                           10.

      This action has been commenced within ninety (90) days of receipt of the

“Dismissal and Notice of Rights.”




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                            FACTUAL ALLEGATIONS

                                         11.

      Plaintiff began her employment with Defendant on December 14, 2020, as a

Residential Trash Driver.

                                         12.

      When Plaintiff interviewed for this position with Darry Taylor, she informed

Mr. Taylor that she was a Seventh-day Adventist and could not work on Saturday

because of her religion. Mr. Taylor responded that this would not be a problem.

                                         13.

      On March 20, 2021, Mr. Taylor drove Plaintiff’s route because Plaintiff could

not work on Saturdays.

                                         14.

      Matt Nichols, the General Manager, informed Plaintiff that Mr. Taylor had

expressed that he was angry about having to cover Plaintiff’s route and that Mr.

Taylor “had something for” Plaintiff when she came back in, implying that he had

set up a retaliatory response.




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                                          15.

      When Plaintiff arrived at work on Monday morning, March 22, 2021, she

discovered that her timecard had been pulled. Plaintiff sought out Mr. Nichols, who

told her that he and Mr. Taylor needed to speak with her.

                                          16.

      Mr. Taylor and Mr. Nichols then met with Plaintiff in Mr. Nichols’ office.

                                          17.

      Mr. Taylor asked Plaintiff who said that she could take off Saturdays. Plaintiff

told Mr. Taylor that when she first interviewed with him, she discussed being unable

to work on Saturdays due to her religion, and that he told her that she did not have

to work on Saturdays.

                                          18.

      Mr. Taylor told Plaintiff that Defendant needed her to work on Saturdays, and

he gave Plaintiff a written disciplinary warning.

                                          19.

      Mr. Nichols then told Plaintiff that she had to submit to a drug test. Plaintiff

passed the drug test.




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                                           20.

      After the meeting, Mr. Taylor told Plaintiff that he had told other employees

on Saturday that he was going to get Plaintiff for not working.

                                           21.

      On Monday, March 29, 2021, after Plaintiff finished her route for the day,

Plaintiff was told to go see Mr. Taylor. Mr. Taylor told Plaintiff that the Director of

Operations, Walter (last name unknown) would like to see her. Plaintiff then went

to Walter’s office, where Mr. Nichols was also present.

                                           22.

      Jamie Mitchell was on speaker phone in Walter’s office, and she informed

Plaintiff that Plaintiff was being put on paid suspension.

                                           23.

      On March 31, 2021, Jamie Mitchell in HR called Plaintiff and terminated her

employment.

                                           24.

      It clearly would not have imposed an undue burden for the employer to

accommodate Plaintiff’s request for a religion-based accommodation.




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                                           25.

      Any reason(s) Defendant claims constitute legitimate, non-discriminatory

reason(s) for its refusal to accommodate Plaintiff and terminating her employment

are pretext for unlawful discrimination and retaliation, in violation of Title VII. As

a result of Defendant’s violations, Plaintiff has suffered damages, including but not

limited to lost wages and emotional distress.

                             CLAIMS FOR RELIEF

      COUNT I: RELIGIOUS DISCRIMINATION IN VIOLATION OF
          TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

                                           26.

      Plaintiff re-alleges the preceding paragraphs as if set forth fully herein.

                                           27.

      Defendant’s actions in failing to accommodate Plaintiff and terminating her

employment because of his religious practices and/or need for a religious

accommodation constitute unlawful employment practices in violation of Title VII,

42 U.S.C. § 2000e-2(a)(1).

                                           28.

      Defendant willfully and wantonly disregarded Plaintiff’s rights, and its

actions toward Plaintiff were undertaken in bad faith. Plaintiff is therefore entitled

to punitive damages.

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                                           29.

      The effects of the practices complained of above have been to deprive Plaintiff

of equal employment opportunities because of her religion.

                                           30.

      As a direct and proximate result of Defendant’s violations of Title VII,

Plaintiff has been made the victim of acts that have adversely affected her

psychological and physical well-being, and have caused her economic losses.

                                           31.

      Defendant is liable for the damages caused by its religious discrimination

against Plaintiff.

         COUNT II: RETALIATION IN VIOLATION OF TITLE VII

                                           32.

      Plaintiff re-alleges the preceding paragraphs as if set forth fully herein.

                                           33.

      Plaintiff’s requests for religious accommodations constitute protected activity

under Title VII.

                                           34.

      Defendant subjected Plaintiff to adverse action, specifically termination,

because of her protected conduct. The adverse action to which Plaintiff was


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subjected would dissuade a reasonable employee from making or supporting a

charge of discrimination.

                                          35.

       There was a causal connection between the protected conduct and the adverse

actions.

                                          36.

       As a direct and proximate result of Defendant’s violations, Plaintiff has

suffered economic and non-pecuniary damages.

                                          37.

       Defendant willfully and wantonly disregarded Plaintiff’s rights, and its

actions toward Plaintiff were undertaken in bad faith.

                                          38.

       Plaintiff is entitled to punitive damages, lost wages and benefits,

compensatory damages, attorneys’ fees and costs, prejudgment interest,

reinstatement or front pay in lieu thereof, and any other relief available under the

law.

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       (a)         Compensatory damages, including general damages for mental

                   and emotional suffering caused by Defendant;


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      (b)         Punitive damages based on Defendant’s willful, malicious,

                  intentional,   and    deliberate   acts,   including   ratification,

                  condonation and approval of said acts;

      (c)         Damages for lost wages and benefits and prejudgment interest

                  thereon;

      (d)         Reasonable attorneys’ fees and expenses of litigation;

      (e)         Trial by jury as to all issues;

      (f)         Prejudgment interest at the rate allowed by law;

      (g)         Declaratory relief to the effect that Defendants have violated

                  Plaintiff’s statutory rights;

      (h)         All other relief to which Plaintiff may be entitled.

      Respectfully submitted, this 10th day of September, 2021.


                                       BARRETT & FARAHANY
                                       s/ V. Severin Roberts
                                       V. Severin Roberts
                                       Georgia Bar No. 940504
                                       Attorney for Plaintiff

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